              Case 1:16-cr-10094-LTS Document 518-4 Filed 10/10/18 Page 1 of 2



                                                                                                            5 August 2018

The Honorable Leo T. Sorokin
United States District Court
John Joseph Moakley Courthouse
1 Courthouse Way
Boston, MA 02210

Dear Judge Sorokin,

I provide this character reference on behalf of Ross McLellan.

As one of Ross’s older siblings, I have known him his entire life. Being close in age, we had a healthy sibling rivalry
throughout our childhood and a strong friendship as adults. Ross and I went to school together, played sports
together, and were best men at each other’s weddings. I am Godfather to his middle child,              , as is he to my
son,          . Ross, our sister Patricia, and I remain close. I attribute this to our upbringing and my parents' values.

We grew up in a low-middle class household with a strong sense of family and a strict moral code. I attribute this to
my mother’s ethical values and my father’s strong religious beliefs. Our family struggled through some difficult times,
but because of my parents' values we were able to succeed. These values are part of my core being and are in part
responsible for my successful family, marriage, and career. I am certain these values live within Ross. Ross is a decent
man. He is a good brother, husband, father and friend.

I would like to share with you some examples that demonstrate his moral and ethical values. Prior to our parents'
passing in 2016, they experienced a number of health issues throughout the last decade of their lives. During this time
there were a number of trips to the emergency room or long hospital stays. Many times, my sister and I were unaware
of the smaller events because Ross took care of everything. Living over an hour and half away, with a taxing career
and large family, he would be by their side making sure they had the necessary medicines, proper care, and that their
financials were in order and bills paid. It is not unusual for a child to take care of elderly parents. The important facts
are that Ross never wanted or took credit. His only concern was doing the right thing for my parents.

These character traits are also evident in other aspects of his life. I read recently that Ross was the youngest executive
vice president in State Street’s history and was a lecturer at M.I.T. I knew Ross was successful but was unware of how
successful. This is because his career was only a small part of his life, which he rarely spoke about and never bragged
about. He was much more interested in coaching his children’s sports teams, their education, and well-being. He
stopped coaching one year that I can remember, but not for the typical reasons. He told me how some of the parents
in his children’s sports league were trying to create an unfair advantage for their children. Ross’s experience with
youth sports as a child was very positive and he wanted the same for all children. Therefore, he took a year off from
coaching in protest to something he knew was unjust.

As indicated, I feel I know Ross as a person and his moral fiber as well as anyone. But I was caught off guard by
something he did a few years back. During the holiday season he had a number of gifts for his family stolen from his
car. Most people would be angry and upset. His response was something to the effect that he hoped the lives of
those responsible got better so they wouldn't need to do something like that in the future. This is the Ross McLellan I
know.

I understand the distressing circumstances that Ross faces. I am confident he is a person of high moral fiber and a
valuable member of this society. I wish him the best outcome and I support him fully, as he has been a wonderful
brother and friend for 46 years.

Sincerely,


Andrew McLellan
Case 1:16-cr-10094-LTS Document 518-4 Filed 10/10/18 Page 2 of 2
